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AO 440 (Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
District of Maryland

ESTATE OF KE ZHENGGUANG

 

Plaintiff(s)
Vv.
YU NAIFEN STEPHANY (a/k/a STEPHANY YU,
a/k/a STEPHANY NAIFEN YU, a/k/a STEPHANY N.
DOMBROWSKI)

Civil Action No. 8:18-cv-03546-TJS

 

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Defendant(s)

SUMMONS IN A CIVIL ACTION

‘To: (etnies vanes and wiies YU NAIFEN STEPHANY (a/k/a STEPHANY YU,
a/k/a STEPHANY NAIFEN YU, a/k/a STEPHANY N. DOMBROWSKI). 15400 River
Road, Germantown Maryland 20874

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Lars Liebeler, Esq., c/o Steven A. Cash, Esq., Day Pitney LLP, 1100 New York
Avenue, N.W., Suite 300, Washington, DC 20005

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

 

Date: 11/28/2018

 

Signature of Clerk or Deputy Clerk
